                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


LAPORTE PIGMENTS, INC.                  )
    a Delaware Corporation              )
                                        )
                     Plaintiff,         )
                                        )
   v.                                   )      Civil Action: 00-0329-CV-W-5-ECF
                                        )
AXEL J., LP                       )
a Canadian limited partnership          )
                                        )
                     Defendant.         )


                                        ORDER

        Upon Unopposed Motion of Defendant Axel J., LP, and for good cause shown, it is

hereby ordered that Defendant Axel J., LP shall have until August 25, 2000 to answer or

otherwise respond to Plaintiff’s Second Amended Complaint.



                                               /s/ Nanette K. Laughrey
                                               NANETTE K. LAUGHREY
                                               U.S. District Judge

Dated: August 17, 2000
Kansas City, Missouri




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